     Case 5:25-cr-00310         Document 2        Filed on 02/01/25 in TXSD          Page 1 of 2




                                          STATEMENT IN
                                SUPPORT OF PROBABLE CAUSE


IN RE: Jose Guadalupe HERNANDEZ-Garza

I, Christopher L. Joliet II, declare and state as follows:

    1. On Friday, January 31, 2025, the Bureau of Alcohol, Tobacco, Firearms and Explosives,
       Laredo Police Department, Laredo Police Department officers and SWAT, Border Patrol
       BORTAC, DEA Laredo, Texas DPS, HSI Laredo, and ICE ERO executed a federal
       search warrant on the 3000 block of Monterrey Street, Laredo, Texas 78046.

    2. During the execution of the search warrant, Jose Guadalupe HERNANDEZ-Garza was
       removed from the residence by Laredo Police Department SWAT. Department of
       Homeland Security, Homeland Security Investigations and U.S. Immigration and
       Customs Enforcement, Enforcement Removal Operations agents verified that
       HERNANDEZ-Garza was an alien illegally inside of the United States.


    3. Agents and officers conducted a search of the residence and discovered a bedroom
       suspected of belonging to HERNANDEZ-Garza containing two firearms, drugs, a scale,
       and HERNANDEZ-Garza’s Mexican Passport. The firearms were identified as a Davis
       Industries, model P-380, .380 auto caliber pistol bearing serial number AP118932 and a
       Cobra Enterprises Inc., model Patriot, 9mm pistol bearing serial number 06219.


    4. HERNANDEZ-Garza was taken into custody by HSI and ICE.


    5. The firearms and evidence were taken into ATF custody. A preliminary examination of
       the firearms indicated that they were manufactured outside of the State of Texas therefore
       traveling in or affecting interstate commerce.


    6. Possession of a firearm by an alien illegally in the United States is a violation of 18 USC
       922(g)(5).

I declare (certify, verify, or state) under penalty of perjury that the forgoing is true and correct to

the best of my knowledge.

Executed on the ___1st__________ of __February________, 2025.
    Case 5:25-cr-00310        Document 2       Filed on 02/01/25 in TXSD       Page 2 of 2




                                                        _________________________________
                                                      Christopher L. Joliet II, ATF Special Agent
Having reviewed the foregoing declaration, I find probable cause that the defendant(s) named

above have committed an offense against the laws of the United States and may therefore be

further detained pending presentment before a judicial officer.




Executed on the ________day of _______________________, 20__




                                                        _________________________________
                                                     UNITED STATES MAGISTRATE JUDGE
